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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION


 SNIK LLC,

       Plaintiff,

       v.
                                             CASE NO. 2:19-CV-00387-JRG
 SAMSUNG ELECTRONICS CO., LTD. AND
 SAMSUNG ELECTRONICS AMERICA, INC.,

       Defendants.


       DEFENDANTS SAMSUNG ELECTRONICS CO., LTD. AND SAMSUNG
            ELECTRONICS AMERICA, INC.’S MOTION TO STRIKE
       PLAINTIFF’S SECOND AMENDED INFRINGEMENT CONTENTIONS
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I.     INTRODUCTION

       On December 9, 2020, without leave or agreement, Plaintiff Snik, LLC (“Snik”) served

“Second Amended Infringement Contentions” under the premise that it was allowed to under

P.R. 3-6(a)(1). Of course, 3-6(a)(1) only allows amendment if, e.g., a party believes in “good

faith” that the Court’s claim construction ruling requires the amendment, but as the Court adopted

Snik’s proposals for construction, it was not clear what basis there was for the amendment.

Accordingly, Samsung wrote Snik that same day and, among other things, asked Snik to provide

its “good faith” basis. Snik’s response, ultimately, was simply that the “broad constructions”

adopted by the Court were “unexpected.” Moreover, Snik stated that even if it did not have a good

faith basis, it would, if Samsung moved to strike, then argue that its amendments were permitted

under 3-6(b) (i.e., for good cause).

       First, putting aside the merits of the issues, this is not how the Rules are supposed to work.

In particular, Samsung believes the Rules were created for orderly disclosure, but more

importantly, that they were not created to be weaponized to force a non-amending party (i.e.,

without the burden to establish good faith or good cause) to first move to strike, then the party

seeking amendment would make the argument for leave in the alternative.

       Second, there is no plausible basis for “good faith” under P.R. 3-6(a)(1) as the Court’s

claim construction order adopted Snik’s proposals. Snik’s continued argument under this premise

(i.e., that it has such a basis) is an abuse of the Rules and Samsung respectfully requests the Court

reject such conduct and impose any further relief it deems appropriate.

       Third, Snik does not, in the alternative, have good cause under 3-6(b)(1). For example,

Snik has not been diligent. In particular, by its proposed amendments, Snik attempts to add

contentions of infringement under the Doctrine of Equivalents (“DOE”). When Snik served its

original infringement contentions on March 23, 2020, Snik included a boilerplate statement


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related to DOE, which Samsung pointed out was insufficient. Snik did nothing to amend those

contentions. Instead, on June 10, 2020, Snik reached out to Samsung seeking to add an accused

product—the Buds+ earphones—but, subsequently, Snik neither moved (under P.R. 3-6(b)) to add

those in the case, nor rectified its deficient boilerplate DOE statement (or otherwise changed its

assertion). Then, on August 12, 2020, Snik reached out to Samsung again to add yet another

accused product—the Buds Live earphones. And again, as with the Buds+, Snik neither moved to

add the Buds Live to the case, nor did anything with DOE. Snik has therefore had months to

properly assert DOE, and it has not.

        In addition, Snik’s argument that it did not have the information/documents to make a DOE

assertion is incorrect. Specifically, as to the Buds and Level U products (discussed below), Snik

has had, e.g., source code and documents for months—since at least May 18, 2020 when Samsung

served its P.R. 3-4 production. For all other products, Snik has not articulated what information it

did not previously have such that it can only assert DOE now (i.e., to substantiate the good cause

for the amendment). That is, Snik asserts that it would not have been possible to make a DOE

argument until now, but it does not explain why. Indeed, given the generic nature of the DOE

contentions, it is not clear why Snik could not have made them months ago. And so, not only was

Snik not diligent, it also cannot argue that the DOE allegations are important (e.g., as otherwise,

why would it have waited so long to amend?). In this district, “[t]he rules have teeth” and Snik

must be held to the consequences for its own failures. See Sycamore IP Holdings LLC v. AT&T

Corp., No. 2:16-CV-588-WCB, 2018 WL 1695231, at *11 (E.D. Tex. Apr. 6, 2018) (Bryson, J.,

sitting by designation) (“Sycamore II”) (denying motion to amend infringement contentions to add

DOE, and stating that the plaintiff’s “situation may be unfortunate, but it is a product of its own

failure to follow the rules.”).




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       Finally, Samsung would be prejudiced with Snik’s proposed amendment. In particular, the

introduction of DOE into the case now, after months of litigation and a recent extension by the

Court (where it stated no further extension would be given absent extraordinary circumstances),

would deprive Samsung of the opportunity to develop its defenses. For example, with its

allegations of DOE, Snik implicates the doctrine of ensnarement. See G. David Jang, M.D. v.

Boston Scientific Corp., 872 F.3d 1275, 1285 (Fed. Cir. 2017). Under the doctrine, it is Snik’s

burden to demonstrate that its infringement theory does not ensnare the prior art. Samsung needs

time to obtain this discovery/position from Snik (e.g., at least 30 days), then an opportunity to

counter the theory with prior art (e.g., 45 days and amended invalidity contentions as well as time

for discovery into third-party systems). Had Snik disclosed a DOE theory when it was required to

(e.g., March 23, 2020 for the Buds) this would not be an issue. Indeed, even if Snik had disclosed

this to Samsung prior to the recently negotiated motion for a 90-day extension (during the hearing

for which Snik stated it would not agree to 120 days), Samsung could have either opposed the

motion/expansion of the case or asked for more time. But, having hid the issue (or otherwise not

been diligent) and waiting to spring the new theory just seven days after the agreed-to amendments,

Snik’s disclosure prejudices Samsung’s ability to respond.

       Accordingly, Snik’s proposed Second Amended Contentions should be stricken (as

improper under 3-6(a)) or leave denied (under 3-6(b)).

II.    RELEVANT FACTUAL AND PROCEDURAL BACKGROUND

       A.      Snik’s Original Infringement Contentions Had Only Boilerplate Language
               Regarding DOE.

       On March 23, 2020, Snik served its original infringement contentions (the “Original

Contentions”), accusing one product (Galaxy Buds) of infringing the ’329 patent, and three

products (Galaxy Buds, Level U Pro, and Level U Pro ANC) of infringing the ’556 patent. (Ex. 1



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at 2). The sum total of Snik’s disclosure of infringement under DOE in its Original Contentions

was the following statement:




Ex. 1 at 2. This statement appears twice in Snik’s cover pleading for its Original Contentions

(Ex. 1 at 2), and once in the preamble for each of the two charts attached thereto. Id. at ’329 chart

at p. 1, ’556 chart at p. 1).

        Just a week later, on March 30, 2020, Samsung wrote to Snik, explaining, among other

things, that Snik’s blanket assertions of infringement under DOE failed to meet the requirements

of P.R. 3-1(d). Ex. 2. Samsung further cited Eolas Techs. Inc. v. Amazon.com, Inc., No. 6:15-CV-

01038, 2016 WL 7666160 (E.D. Tex. Dec. 5, 2016) and informed Snik that, as it failed to provide

a proper contention of infringement under DOE, Snik could not later assert DOE in the case. Ex. 2

at 1. On April 6, 2020, Snik responded, stating without legal support that it was “premature at this

juncture for Snik to provide detail with respect to the doctrine of equivalents” and that Snik would

“amend its Contentions as P.R. 3-6 permits” after further discovery in this case “and/or after the

Court enters its Claim Construction order.” Ex. 3 at 1.

        On May 18, 2020, Samsung produced technical documents and made available source code

pursuant to P.R. 3-4.

        B.      Months After Its Original Contentions, Snik Continued to Repeat the Same
                Boilerplate DOE Language.

        On June 10, 2020, Snik informed Samsung that it “will move the Court pursuant to Local

Patent Rule 3-6(b)” to amend its contentions to add the Buds+, among other products, and asked

if Samsung would “stipulate to Snik’s motion for leave to amend.” Ex. 4 at 1-2.



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       On June 17, 2020, Samsung responded, noting, among other things, that Snik—by its own

admissions—had been aware of the Buds+ for over five months and had not provided any good

cause. Ex. 5 at 1-2. On June 23, 2020, the parties met and conferred and, on June 26, 2020, Snik

provided Samsung with a copy of its proposed amended claim charts. See Exs. 6, 7.

       On July 2, 2020, Samsung noted several issues with Snik’s proposed amended charts,

namely, that they included, among other things, not just charts against the Buds+, but also

new/revised theories of infringement against the Buds (previously accused). Samsung asked Snik

to address these issues. Ex. 8. Notably, the proposed amended charts against the Buds and Buds+

had the same boilerplate statement as before regarding DOE.

       On July 13, 2020, Snik declined to revise its proposed amended charts to address

Samsung’s concerns and blamed Samsung’s discovery/production for any issues with the

contentions. Ex. 9. Moreover, without articulating how these discovery issues related to good

cause, Snik stated that it intended to: (a) file a motion to compel further discovery, (b) serve

amended contentions on Samsung, and (c) “move the Court for leave to amend once the Court

orders Samsung’s compliance with its discovery obligations.” Ex. 9.

       Snik then did nothing. It did not, for example, articulate the grounds for the discovery

issue (and, more importantly, how that would substantiate good cause to amend), request a further

meet and confer, file a motion to compel, or seek leave of Court to amend its contentions under

P.R. 3-6(b). Instead, on August 4, 2020, in an apparent attempt to end-run P.R. 3-6(b), Snik simply

filed a First Amended Complaint adding allegations against the Buds+ and attaching the proposed

claim charts as exhibits. D.I. 37.




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       C.      Nearly Seven Months After the Original Contentions, Snik Then Again
               Repeated the Same Boilerplate DOE Language.

       On August 12, 2020, Snik requested Samsung agree to Snik amending its complaint and

infringement contentions to add another product, the Buds Live. Ex. 10. On August 19, 2020,

Samsung responded and requested, among other things, the proposed amended charts. Ex. 11 at 1.

Samsung also reminded Snik that since it did not seek leave to amend its contentions, the Buds+

remained outside the scope of the case because the only way for Snik to add products into the case

is by amending its infringement contentions. Ex. 11 at 1 (citing Tivo Inc. v. Samsung Elecs. Co.,

No. 2:15-CV-1503-JRG, 2016 WL 5172008 (E.D. Tex. July 22, 2016)).

       Two months later, on October 13, 2020, Snik provided proposed claim charts for the Buds

Live, and asked Samsung if it would stipulate to Snik adding the Buds Live to the case. Exs. 12,

13, 14. The charts had, again, the same DOE boilerplate language as in the Buds and Buds+ charts.

Ex. 13 at 1; Ex. 14 at 1. This was over six months after the March 23 Original Contentions.

       On October 20, 2020, Samsung responded and noted, among other things, that Snik let the

issue sit for two months and that this delay was emblematic of Snik’s course of conduct in this

case. Ex. 15. Nevertheless, Samsung asked Snik to provide the good cause pursuant to P.R. 3-

6(b) for adding the Buds Live. Ex. 15 at 3. On October 21, 2020, Snik responded, purporting to

outline Snik’s “good cause” to add the Buds+ and Buds Live.            Ex. 16.   But, rather than

demonstrating diligence, Snik attempted to blame its own failures and months of delay on

Samsung. Id.

       D.      The Prior-Served Charts Were the Basis of the Parties’ Agreement to Add
               New Products to the Case and to Seek an Extension.

       Samsung disagreed with Snik, or that any discovery issue would impact the contentions or

relate to Snik’s failure of diligence. Ex. 17. In any event, in an effort to compromise and reduce

the issues for the Court, Samsung agreed that it would not oppose a motion by Snik to add the


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previously disclosed charts for the Buds+ and Buds Live. Id.; Ex. 18. However, for the Buds

Live, Samsung would not oppose only if the Court granted a 90-day extension to all dates to cure

the prejudice to Samsung. Ex. 18. Fundamental to this agreement was that Snik would amend

only to add the previously disclosed charts. Id.

        On November 20, 2020, Court granted the extension. D.I. 74. On December 2, 2020, the

Court entered an Amended DCO, setting December 2, 2020 as the date to serve amended

infringement contentions. D.I. 80. Without the extension, fact discovery would have ended on

December 10, 2020. Id. On December 2, 2020, Snik served amended infringement contentions

(the “First Amended Contentions”), with the same previously disclosed charts, as agreed. Ex. 19.

In particular, as with its Original Contentions, the only reference to DOE was the following

statement:




Ex. 19 at 2, 3.

        Seven days later, on December 9, 2020, without leave or agreement, Snik served what it

referred to as its Second Amended Infringement Contentions (the “Second Amended

Contentions”). Ex. 20. These contentions differed from those Snik served a week earlier in that,

in addition to containing the same boilerplate language in the cover pleading and preamble to each

claim chart, Snik added the following form language to various elements in each of the claim charts

(varying only the specific referenced Accused Product and Element):




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Ex. 20 (Second Amended Contentions), Exhibit 1 at 18. 1 On December 9, 2020, Samsung asked

Snik to confirm that it was proffering its Second Amended Contentions under P.R. 3-6(a) and, if

so, to explain the good faith basis (e.g., how the claim construction adopted by the court was

“unexpected or unforeseeable”). Snik responded on December 13, 2020, and asserted it amended

“as of right per P.R. 3-6(a)” and that the “broad constructions of activation/deactivation signal and

couple/decouple” made the “impact of the ruling . . . unexpected.” Ex. 21. Snik also asserted that

it “can be permitted to amend pursuant to P.R. 3-6(b).” Id.

       Samsung requested a meet-and-confer, and subsequently, on December 16, 2020, Snik

informed Samsung that if Samsung moved to strike Snik’s Second Amended Contentions, then

Snik intended to argue that its contentions “are permissible pursuant to 3-6(b) and the Court’s

broad discretion to allow amendments.” Ex. 22. Samsung responded the same day and confirmed,


1
 This language is substantively identical across all of Snik’s claim charts, with substitutions
merely for the specific referenced Accused Product and Element. (See, e.g., Second Amended
Contentions, Ex. 1 at 18, 24-25, 51, 56-57, 82, 88-89, 97, 104-05, 125-26, 131-32, 137, 143-44,
150-51, 156-57, 177, 182-183, 240, 246-47, 255, 261-62, 276-77, 282-83; Second Amended
Contentions, Ex. 2 at 12, 26, 44, 52, 69, 77, 86, 104, 139, 150, 162; Second Amended Contentions,
Ex. 3 at 23, 28, 95-96, 101-02, 164-65, 170, 219, 229, 234-35, 240-41, 245, 257, 273-74, 279-80,
284, 314; Second Amended Contentions, Ex. 4 at 15, 52, 83).



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among other things, that Snik would not seek leave—and only intended to make its request for

leave in the alternative and only if Samsung filed a motion to strike. Ex. 23.

        E.     The Court Adopted Snik’s Claim Construction Positions.

        On November 9, 2020, the Court issued its Claim Construction Order. For each disputed

term, the Court adopted Snik’s proposal for plain and ordinary meaning or alternative

construction. D.I. 68 at 9, 16-17, 22:

                           Snik’s                      Court’s            Samsung’s Proposed
       Term
                  Proposed Construction              Construction             Construction
 “activation   Plain and Ordinary Meaning         “start signal”       “signal that starts an
 signal”       (or if the Court believes a                             operation
               construction                                            on an electronic device”
               is necessary, “start signal”)
 “deactivation Plain and Ordinary Meaning         “stop signal”        “signal that stops an
 signal”       (or if the Court believes a                             operation
               construction                                            on an electronic device”
               is necessary, “stop signal”)
 “decoupled” Plain and Ordinary                   Plain and            “physically separated”
               Meaning                            Ordinary
               (or if the Court believes a        Meaning
               construction is
               necessary, “disconnected or
               disassociated”)
 “coupled”     Plain and Ordinary                 Plain and            “physically connect(ed)”
               Meaning                            Ordinary
               (or if the Court believes a        Meaning
               construction is
               necessary, “connected or
               associated”)

III.    LEGAL STANDARD

        A.     Amendments to Infringement Contentions May Only be Made in Good Faith
               (3-6(a)(1)) or for Good Cause (3-6(b)).

        A party claiming infringement may amend its infringement contentions without leave of

Court within 30 days of receiving service of the Court’s claim construction ruling if it “believes in

good faith” that the ruling so requires. P.R. 3-6(a)(1). Good faith requires that the ruling be

“unexpected or unforeseeable.” Sycamore II, 2018 WL 1695231, at *4 (“[C]ourts in the Eastern


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District of Texas have uniformly required the movant to show that the claim construction adopted

by the court was ‘unexpected or unforeseeable.’”) (citing cases).

       Apart from P.R. 3-6(a)(1), amendment of infringement contentions “may be made only by

order of the Court, which shall be entered only upon a showing of good cause.” P.R. 3-6(b). This

Court has previously reviewed four factors in its analysis of good cause: “(1) the offending party’s

explanation for the untimeliness; (2) the importance of the amendment or evidence that might be

excluded; (3) the potential prejudice to the movant; and (4) the availability of a continuance to

cure any prejudice.” Implicit, LLC v. Huawwei Techs. USA, Inc., No. 6:17-CV-00182-JRG, 2018

WL 11182156, at *3 (E.D. Tex. July 2, 2018).

       B.      DOE Requires Plaintiff to Demonstrate that Its Theory Does Not Ensnare
               the Prior Art.

       DOE allegations cannot “encompass or ‘ensnare’ the prior art.” Jang, 872 F.3d at 1285

(discussing requirements for same, including “hypothetical claim analysis,” which looks to

determine whether a hypothetical claim constructed to literally cover the accused device would be

patentable over the prior art). Id. It is the patentee’s burden to prove patentability of the

hypothetical claim. Id.

IV.    ARGUMENT

       A.      There is No Good Faith Basis to Amend Under P.R. 3-6(a)(1).

       Snik’s argument that the Court’s claim construction was “unexpected or unforeseeable” is

without merit.2 As noted above, the Court adopted Snik’s positions. Indeed, even if the Court had

agreed with Samsung’s constructions, that still would not meet the good faith standard as any



2
 Based on Snik’s course of conduct in this case, now having forced Samsung to brief the issue, it
would not be surprising if Snik abandons its P.R. 3-6(a) position (e.g., as it never actually had a
basis in the first instance) and relies only on P.R. 3-6(b).



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construction proposed in the case cannot be “unexpected or unforeseeable.” See, e.g., Implicit,

2018 WL 11182156, at *4-5 (“All of the constructions entered were proposed by one of the

Parties…. Accordingly, the Court finds that [Plaintiff] is unable to avail itself of P.R. 3-6(a)

following claim construction.”); Sycamore II, 2018 WL 1695231, at *4-*9 (examining numerous

opinions in this District holding that the court’s adoption of claim constructions proposed by the

parties is neither unexpected nor unforeseeable under P.R. 3-6(a)). Samsung requests the Court

strike the Second Amended Contention as improper under 3-6(a) and impose any further relief it

deems appropriate.

       B.      Snik’s Alternative Request to Amend Under P.R. 3-6(b) Should be Denied
               for Lack of Good Cause.

       As a threshold issue, though Snik may argue that this is a technicality—and that the Court

can consider 3-6(b) factors in a response to a motion to strike—the Rules should not be so

disregarded.3 Moreover, by employing this tactic, Snik effectively flips the burden by making

Samsung first brief why good cause does not exist before Snik briefs why it does.

       To the extent the Court will entertain Snik’s alternative request, it should still be denied for

failure to show good cause under the four factor test: (1) explanation for untimeliness; (2) the

importance of the amendment or evidence that might be excluded; (3) potential prejudice; and

(4) the availability of a continuance to cure any prejudice. See Implicit, 2018 WL 11182156, at *3

(evaluating the four factors in finding no good cause to amend infringement contentions under

P.R. 3-6(b)); see also Sycamore IP Holdings LLC v. AT&T Corp., No. 2:16-CV-588-WCB, 2017

WL 4517953, at *2-*6 (E.D. Tex. Oct. 10, 2017) (“Sycamore I”) (evaluating a similar “non-


3
  Though the Court has indeed addressed a request for leave under 3-6(b) in response to a motion
to strike (see Implicit, LLC, 2018 WL 11182156, at *3), in this instance Snik abuses the grace
shown by this Court as Snik has no colorable basis to assert good faith under 3-6(a) (i.e., Snik is
gaming the system by itself using a technicality that allows Parties to amend without leave).



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exclusive list” of five factors); Nike, Inc. v. Adidas Am. Inc., 479 F. Supp. 2d 664, 668-70 (E.D.

Tex. 2007) (same).

                   1. Snik Has Not Been Diligent.

       Snik served its Original Contention on March 23, 2020. As to the Buds and Level U

products, Snik has had, e.g., source code and documents since at least May 18, 2020. Snik also

sent Samsung amended charts (i.e., on June 26, on October 13, on December 2), and even filed

amended charts on August 4 as exhibits to its First Amended Complaint (D.I. 37), and yet never

before asserted anything beyond the same boilerplate DOE statement in its Original Contentions.

       No doubt, Snik will attempt to deflect from its failures by blaming Samsung—saying that

Samsung did not provide sufficient documents. This is not correct. For example, Snik’s argument

is contradictory because it argues that it does not have any information for, e.g., the Buds Live, yet

seeks to amend its contentions to add DOE for those same products. Indeed, given the generic

language of its DOE contentions (see supra at pp. 7-8), it is not clear why Snik could not have

made them months ago.4 Moreover, even if there was some substance needed for Snik’s DOE

contentions, Samsung has produced (e.g., provided access to) the source code for the Buds since

May, yet Snik never sought to inspect the code. In addition, Snik has not taken a single deposition

of Samsung in the case.       Accordingly, Snik has delayed for months, without substantive

explanation, which resulted in its proposed amendment being untimely, and any request to amend

now under 3-6(b) should be denied. See, e.g., Sycamore I, 2017 WL 4517953, at *4 (“A delay of

several months has been found to weigh against a party’s request for leave to file amended



4
  This is also contrary to what Snik often states as an excuse: “I don’t know what I don’t know.”
In this instance, it seems there was nothing it did not know (e.g., as it has now proposed DOE
contentions with the same knowledge it had, e.g., months ago) or it was its own fault for failing to
investigate/pursue it.



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infringement contentions, particularly where, as here, the party has provided no justification for

the delay.”).

                   2. Snik’s Actions Demonstrate Its DOE Theory is a Mere “Backup”
                      Theory.

       It is important to note that without the extension granted by the Court, expert reports would

have been due on December 10, 2020. December 9, 2020 is the first time Snik disclosed the DOE

position it seeks to add now. Surely, Snik may have thought this timing was fine because the Court

granted the extension. Yet, as noted above, Snik has had months to provide its position and has

sent Samsung multiple amendments to their infringement contentions, without once disclosing this

new position. Snik has also taken no depositions nor articulated why they need DOE versus what

they already have in their literal infringement allegations. 5 See, e.g., Sycamore I, 2017 WL

4517953, at *4 (striking untimely infringement contentions containing new DOE allegations where

“at most the doctrine of equivalents theory is only a back-up theory of liability against [defendant]

and a theory that emerged late in the development of the case”).

                   3. Infringement Under DOE May Not be Available.

       Moreover, it is likely that DOE is barred by Festo. Festo Corp. v. Shoketsu Kinzoku Kogyo

Kabushiki Co., 535 U.S. 722, 733-34 (2002); see Nike, 479 F. Supp. 2d at 670 (granting motion to

strike amended infringement contentions adding DOE allegations where, “on first glance”, DOE

“may be severely limited by prosecution history estoppel”). For example, in the ’329 patent:

               Element 1(c) (i.e., where Snik asserts DOE) was added to narrow original claim 1
                to overcome rejection (Ex. 24 [Aug. 8, 2014 Office Action] at 2; Ex. 25 [Aug. 21,
                2014 Amend.] at 2); and


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  If the Court allows Snik Second Amended Contentions, Samsung reserves the right to seek to
strike such theories on the merits. See, e.g., Sycamore I, 2017 WL 4517953, at *3, *6 (finding
Plaintiff’s DOE contentions insufficient in its operative infringement contentions and striking
DOE theories from expert report).



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              Element 1(c) was further amended (to also require “wherein the electronic device
               controller receives a deactivation signal when one or more of the set of earphones
               are coupled to one of the one or more magnets”) following a second rejection
               (Ex. 26 [Apr. 29, 2015 Office Action] at 3; Ex. 27 [May 18, 2015 Amend.] at 2).

       For the ’556 patent, for example, claim 1, and specifically element 1(c) (where Snik asserts

DOE) also narrowed the original claim through multiple amendments following multiple

unpatentability rejections:

              Claim was amended to recite that the head phones controller is “coupled to receive
               an activation signal when one or more of the second surfaces of the set of head
               phones are decoupled from one of the one or more outer surfaces” to overcome
               rejection (Ex. 28 [Jan. 7, 2015 Office Action] at 4; Ex. 29 [Apr. 3, 2015 Amend.]
               at 3);

              Further amended to also require “magnetic” second surfaces and “magnetically
               attractable” first surfaces following further rejection (Ex. 30 [July 8, 2015 Office
               Action] at 4; Ex. 31 [Aug. 31, 2015 Amend.] at 2);

              Further amended to require that headphones are “removed and” decoupled
               following further rejection No. 2013/0129110 (“Harper”) (Ex. 32 [Feb. 5, 2016
               Office Action] at 6-7; Ex. 33 [June 20, 2016 Office Action] at 3-4; Ex. 34 [Sept. 30,
               2016 Amend.] at 2); and

              Further amended to its final form by adding “a magnetic decoupling is detected”
               and “wherein the activation signal causes transmitted audio to be played in the
               headphones” in response to further rejection (Ex. 35 [Dec. 23, 2016 Office Action]
               at 5-6; Ex. 36 [March 23, 2017 Amend.] at 2).

                   4. Samsung is Prejudiced by this Amendment.

       As noted above, if DOE is introduced into the case, so will ensnarement. Ensnarement

precludes a patent owner from asserting infringement under DOE if it will encompass or “ensnare”

the prior art, and it is Snik’s burden in the first instance to explain that its infringement theory

does not ensnare the prior art. Jang, 872 F.3d at 1285, 1287. If the amendment is entered, Samsung

would need to seek discovery of Snik’s position (e.g., through interrogatories and additional

request for admissions), then (and in part parallel) seek prior art in response (e.g., amend its

invalidity contentions). Given the current schedule has expert reports due on March 10, 2021,



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there would be little time to handle these issues while continuing to proceed with the other issues

in the case.

                   5. The Court Has Stated It Would Not Further Extend the Schedule
                      Barring Extraordinary Circumstances.

        In recently granting an extension in the case schedule, the Court noted that “[a]bsent

extraordinary circumstances, the Parties should not expect any further extensions.” D.I. 74. Snik’s

late attempt to add DOE is not an extraordinary circumstance (e.g., given it could have introduced

the issue well before). To the extent, however, that the Court deems it proper to allow the

amendment and seeks to cure prejudice with a continuance, Samsung would request a 60-day

extension to all dates in the schedule as well as leave to amend its invalidity contentions within 45

days of the Second Amended Contentions being allowed.

V.      CONCLUSION

        For the foregoing reasons, Samsung respectfully requests that the Court strike Snik’s

Second Amended Infringement Contentions.


December 29, 2020                             Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 29, 2020, I electronically filed the foregoing Defendants

Samsung Electronics Co., Ltd. and Samsung Electronics America, Inc.’s Motion To Strike

Plaintiff’s Second Amended Infringement Contentions, with the Clerk of the Court for the Eastern

District of Texas using the ECF System which will send notification to the registered participants

of the ECF System as listed on the Court’s Notice of Electronic Filing.

                                                            /s/Melissa R. Smith
                                                            Melissa R. Smith


                             CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that counsel has complied with the meet and confer

requirement of Local Rule CV-7(h) and that the motion is opposed. Counsel for Defendants

Samsung Electronics Co., Inc. and Samsung Electronics America, Inc., conferred in good faith

with counsel for Plaintiff Snik, LLC on multiple occasions as outlined in this motion. The parties

reached an impasse, leaving an open issue for the Court to resolve.

                                                            /s/Melissa R. Smith
                                                            Melissa R. Smith




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